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                   IN THE UNITED STATES DISTRICT COURT

              FOR THE WESTERN DISTRICT OF WISCONSIN
____________________________________

UNITED STATES OF AMERICA,

                        Plaintiff,                           ORDER

     v.                                                 07-cr-031-jcs-1

MICHAEL m. HUGHES,

                    Defendant.
____________________________________

     The government’s motion for reduction of sentence pursuant to

Rule 35(b), Federal Rules of Criminal Procedure, came on to be

heard before the Court in the above entitled matter on December 19,

2007, the government having appeared by Erik C. Peterson, United

States Attorney for the Western District of Wisconsin, by Daniel J.

Graber, Assistant United States Attorney; defendant having waived

personal appearance, appeared by William Jones.             Honorable John C.

Shabaz, District Judge, presided.

     The   Court    finds    that     defendant   has   provided   substantial

assistance as represented by the government.                 Accordingly, the

government’s   motion       for   a   reduction   of    sentence   is   granted.

Defendant’s offense level is reduced by one level to a total

offense level of 30.

     Pairing a total offense level of 30 with a criminal history

category VI results in an advisory guideline imprisonment range of

168 to 210 months.      A sentence near the low end of the advisory

range, 168 months, is reasonable and necessary to achieve the
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purposes of sentencing set forth in 18 U.S.C. § 3553(a), namely to

hold defendant accountable for his serious criminal conduct and

protect the community.



                                   ORDER

     IT IS ORDERED that the judgment entered by the Court on July

11, 2007 is AMENDED and his sentence reduced to reflect that

defendant is committed to the custody of the Bureau of Prisons for

a term of 168 months.     In all other respects, the judgment remains

as previously entered on July 11, 2007.

     Entered this 19th day of December, 2007.

                                   BY THE COURT:

                                   /s/

                                   __________________________________
                                   JOHN C. SHABAZ
                                   District Judge
